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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                              Chapter 11

BOY SCOUTS OF AMERICA AND                                           Case No. 20-10343 (LSS)
DELAWARE BSA, LLC,4
                                                                    Jointly Administered
                                     Debtors.



                                       CERTIFICATE OF SERVICE

                 I, James E. O’Neill, hereby certify that on the 24th day of February, 2022, I
caused a copy of the following document(s) to be served on the individual(s) on the attached
service list(s) in the manner indicated:

                  Statement of the Tort Claimants’ Committee Regarding (1) Selection of
                  Settlement Trustee and Claims Administrators; and (2) Corrective Changes
                  to Proposed Trust Agreement in Connection with Confirmation of Third
                  Modified Fifth Amended Chapter 11 Plan of Reorganization for Boy Scouts
                  of America and Delaware BSA, LLC



                                                       /s/ James E. O’Neill
                                                       James E. O’Neill (Bar No. 4042)




4
  The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’ mailing
address is 1325 West Walnut Hill Lane, Irving, Texas 75038.



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